Case 1:25-cv-10338-AK   Document 6-14   Filed 02/10/25   Page 1 of 6




                        EXHIBIT 14
Case 1:25-cv-10338-AK   Document 6-14   Filed 02/10/25   Page 2 of 6
Case 1:25-cv-10338-AK   Document 6-14   Filed 02/10/25   Page 3 of 6
Case 1:25-cv-10338-AK   Document 6-14   Filed 02/10/25   Page 4 of 6
Case 1:25-cv-10338-AK   Document 6-14   Filed 02/10/25   Page 5 of 6
Case 1:25-cv-10338-AK   Document 6-14   Filed 02/10/25   Page 6 of 6
